              Case 18-60094-6-dd                            Doc 2   Filed 01/25/18 Entered 01/25/18 14:00:25                       Desc Main
                                                                    Document      Page 1 of 7
                                                               NORTHERN DISTRICT OF NEW YORK
    In Re:
    William J Picinich
                                                                     Debtor(s).              Case No.   18 -

                                                                                   Chapter 13 Plan
                                                                                    Original   Amended
                                                                                  Date: January 23, 2018

IF THIS IS AN AMENDED PLAN, the reason for filing the Amended Plan is


    Part 1:   Notices

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                      You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                      attorney, you may wish to consult one.

                      If you oppose the plan’s treatment of your claim or any provision of this plan, you MUST file an objection to confirmation
                      at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court. The
                      Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Federal Rule of
                      Bankruptcy Procedure (“Fed. R. Bankr. P.”) 3015.

                      Under 11 U.S.C. § 1325(b)(1)(B), if an unsecured creditor objects to this plan, the Bankruptcy Court may not approve
                      this plan unless the plan provides that all of the Debtor’s1 projected disposable income will be applied to make payments to
                      unsecured creditors under the plan. Absent an objection, distribution of payments under this plan will be made pursuant to
                      the order of distribution set forth in Section 2.6 below. This distribution scheme may result in the secured and priority claims
                      being paid prior to your unsecured claim. To avoid this result, you MUST file an objection.

                      The following matters may be of particular importance. Debtor must check one box on each line to state whether or not the
                      plan includes any of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                      will be ineffective if set out later in the plan.

    1.1       A limit on the amount of a secured claim, set out in Sections 3.2 and/or 3.3, which may                 Included            Not Included
              result in a partial payment or no payment at all to the secured creditor
    1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                 Included            Not Included
              out in Section 3.4
    1.3        Nonstandard provisions, set out in Part 8                                                              Included            Not Included

    1.4       Assumes and/or Rejects Unexpired Leases and Executory Contracts, set out in Part 6                      Included            Not Included


Debtor is eligible for a discharge pursuant to 11 U.S.C. § 1328(f). Check One

   Yes.
   No. If this box is checked, the debtor acknowledges that he/she is NOT eligible for a discharge because the debtor received a
discharge in a prior (check one)
              Chapter 7 , 11, or 12 case filled within four years of the date of the filing of the petition in this case; or
              Chapter 13 case filed within two years of the date of the filing of the petition in this case.

To Domestic Support Obligation Claimants: The Debtor will make payments for postpetition domestic support obligations, as that
term is defined under 11 U.S.C. § 101(14A), commencing on the date of filing and continuing during the term of the plan. Pre-petition
domestic support obligation arrears, if any, are addressed in Part 4. Below are the names of each individual entitled to receive domestic
support obligation payments and the amount of such payments:

      None
    Name of Payee                                                                            Current Payment Amount

    Part 2:   Plan Payments, Length of Plan and Order of Distribution

2.1 Debtor will make regular payments to the chapter 13 trustee (“Trustee”) as follows:


1
     In a joint case, any reference to “Debtor’ shall mean “Debtors.”
(Local Form Plan 12-01-2017)                                                            1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
             Case 18-60094-6-dd                             Doc 2    Filed 01/25/18 Entered 01/25/18 14:00:25                    Desc Main
                                                                     Document      Page 2 of 7
$1,150 / month x 60 months
2.2 Regular payments to the Trustee will be made from future income in the following manner: Check all that apply.
      Debtor will make payments pursuant to a payroll deduction order.
      Debtor will make payments directly to the Trustee.
      Other (specify method of payment):

2.3 Income tax refunds and refunds.
         Debtor will provide the Trustee (1) with a copy of each income tax return filed during the plan term within 14 days of filing the
         return, and (2) will turn over to the Trustee all income tax refunds in excess of $1,500.00 received during the plan term. Debtor
         understands that failure to file tax returns during the term of the plan may constitute grounds for the dismissal or conversion of
         the case.

2.4 Additional payments. Check one.
                  None.
2.5 The total amount of estimated payments to the trustee provided for in Sections 2.1, 2.3 and 2.4 is $69,000.

2.6 Order of Distribution of Plan Payments by the Trustee. Subject to any alternate provision in Part 8, funds received by the Trustee
for distribution to creditors under the plan, absent objection, shall be applied, after payment of applicable Trustee’s fees, in the following
order of distribution:

             First: To pay any and all equal monthly payments required on allowed secured claims under Sections 3.2 and 3.3.
             Second: To pay allowed administrative expenses, including attorney’s fees under Section 4.3, pro rata, until paid in full.
             Third: To pay allowed secured claims pro rata until paid in full under Section 3.1.
             Fourth: To pay allowed priority claims pro rata until paid in full under Sections 4.4 and 4.5.
             Fifth: To pay allowed unsecured claims pro rata under Part 5.

However, in the event the Debtor will make ongoing mortgage or lease installment payments through the plan under Section 3.1 or 6.1, those
payments shall be made prior to payment to any other creditor and after payment of applicable Trustee’s fees.

 Part 3:      Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any, for claims secured by real or personal property. Check one.


                    None.
                    The Debtor will maintain the current contractual installment payments on the secured claims listed below, with any changes
                    required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                    by the Trustee or directly by the Debtor, as specified below. Creditors being paid directly by the Debtor under the plan shall
                    continue to send customary payment coupons, statements, and notices to the Debtor. Such actions by the creditor shall not
                    constitute or form the basis for finding a violation of the automatic stay. Any existing arrearage on a listed claim will be paid in
                    full through disbursements by the Trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the
                    amounts listed on a proof of claim filed before the filing deadline under Fed. R. Bankr. P. 3002(c) control over any contrary
                    amounts listed below as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of
                    claim, the amounts stated below shall control. If relief from the automatic stay is ordered as to any item of collateral listed in this
                    paragraph, then, unless otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all
                    secured claims based on that collateral will no longer be treated by the plan.
                                                                                                                                           Interest rate
                                                                                                                                           on arrearage
 Name of Creditor Collateral                                       Current installment payment Amount of arrearage                         (if applicable)
                         1374 CR 23 RD 3 Kerrs Creek
                         Rd Walton, NY 13856
                         Delaware County
 Seterus, Inc            includes adjacent land                                      $800.00                          $157,253.44                   7.00%
                                                                   Disbursed by:
                                                                       Trustee
                                                                       Debtor
                         1374 CR 23 RD 3 Kerrs Creek
                         Rd Walton, NY 13856
 Tn of Wilton            Delaware County
 Tax Collector           includes adjacent land                                            N/A                             $961.68                  7.00%
                                                                   Disbursed by:
                                                                       Trustee
                                                                       Debtor
Insert additional claims as needed.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

(Local Form Plan 12-01-2017)                                                 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
             Case 18-60094-6-dd                             Doc 2    Filed 01/25/18 Entered 01/25/18 14:00:25                           Desc Main
                                                                     Document      Page 3 of 7

                          None.
                          The remainder of this paragraph will be effective only if box 1.1 in Part 1 of this plan is checked “Included.”

                          The Debtor requests that the court determine the value of the secured claims listed below. For each non-governmental secured
                          claim listed below, the Debtor states that the value of the secured claim should be paid as set forth below in the column headed
                          Amount of secured claim (net value). For claims of governmental units, the value of a secured claim listed in a proof of claim
                          filed in accordance with the Fed. R. Bankr. P. 3002(c) controls over any contrary amount listed below unless otherwise ordered
                          by the court. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                          of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                          treated in its entirety as an unsecured claim under Part 5 of this plan. If the collateral is the Debtor’s principal residence and the
                          Debtor seeks to void a wholly unsecured junior mortgage lien, a separate affidavit providing evidence of value of the property
                          and the amount of each senior lien against the property is to be filed and served upon the affected creditor. Upon confirmation of
                          the plan, Debtor shall submit an order voiding the mortgage lien.

                          Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the proof of claim controls over any
                          contrary amounts listed in this paragraph. The holder of any claim listed below as having value in the column headed Amount of
                          secured claim (net value) will retain the lien on the property interest of the Debtor or the estate until the earlier of:

                                        (a) payment of the underlying debt determined under nonbankruptcy law, or
                                        (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by
                                        the creditor.

 Name of               Collateral                 Value of           Amount of          Amount of          Interest rate    Equal Monthly Pre-confirmation
 creditor                                         collateral         claims senior to   secured                            payment to     adequate
                                                                     creditor's claim   claim (net                         creditor       protection
                                                                                        value)                                            payment




Insert additional claims as needed.

3.3 Secured claims excluded from 11 U.S.C. § 506. Check one.

                          None.
                          If the interest rate stated below is not the contract rate, the remainder of this paragraph will be effective only if box 1.1 in
                          Part 1 of this plan is checked “Included.”
                          The claims listed below were either:

                                        (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
                                        vehicle acquired for the personal use of the Debtor, or

                                        (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
                                        value.

                          These claims will be paid in full under the plan with interest at the rate stated below. Unless otherwise ordered by the court, the
                          claim amount stated on a proof of claim filed before the filing deadline under Fed. R. Bankr. P. 3002(c) controls over any
                          contrary amount listed below. In the absence of a contrary timely filed proof of claim, the amounts stated below shall control.

 Name of Creditor                    Collateral                       Amount of claim                 Interest rate     Equal Monthly           Pre-confirmation
                                                                                                                        payment to              adequate
                                                                                                                        creditor                protection
                                                                                                                                                payment
 -NONE-

Insert additional claims as needed.

3.4 Lien avoidance. Check one.
                  None.
                  The remainder of this paragraph will be effective only if box 1.2 in Part 1 of this plan is checked “Included.”



(Local Form Plan 12-01-2017)                                                      3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
             Case 18-60094-6-dd                             Doc 2       Filed 01/25/18 Entered 01/25/18 14:00:25                      Desc Main
                                                                        Document      Page 4 of 7
                          The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                          which the Debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or
                          security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon confirmation of
                          the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the
                          extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured
                          claim under the plan. See 11 U.S.C. § 522(f) and Fed. R. Bankr. P. 4003(d). If more than one lien is to be avoided, provide the
                          information separately for each lien. A separate affidavit providing evidence of value of the property and the amount of each
                          additional lien against the property is to be filed and served upon the affected creditor(s). Upon confirmation of the plan, Debtor
                          shall submit an order avoiding the lien(s).

 Information regarding judicial                     Calculation of lien avoidance                                          Treatment of remaining secured
 lien or security interest                                                                                                 claim
 Name of Creditor                                   a. Amount of lien                             $2,512                   Amount of secured claim after
                                                                                                                           avoidance (line a minus line f)
 National Bank of Delaware County b. Amount of all other liens                                    $260,106.75
                                  c. Value of claimed exemptions on                               $11,875
                                  Schedule C
 Collateral Description/Property d. Total of adding lines a, b, and c                             $274493.75               Interest rate (if applicable)
 Address
 1374 CR 23, Walton, NY                                                                                                    9.0                  %

 Lien identification (such as                       e. Value of debtor(s)' interest in property   $203,520.00
 judgment date, date of lien
 recording, book and page number)
 6/11/2010; # 091697
                                                    f. Subtract line e from line d.               $70,973.75

 Collateral owned                                     Extent of exemption impairment
 solely X                                             (Check applicable box)
 jointly                                            X    Line f is equal to or greater than line a.
 Date Collateral acquired                                The entire lien is avoided (Do not complete the next column)

                                                         Line f is less than line a.
                                                         A portion of the lien is avoided. (Complete the next column)
 Name of Creditor                                   a. Amount of lien                          $10,306                     Amount of secured claim after
                                                                                                                           avoidance (line a minus line f)
 CACH LLC                                           b. Amount of all other liens                  $260,106.75
                                                    c. Value of claimed exemptions on             $11,875
                                                    Schedule C
 Collateral Description/Property                    d. Total of adding lines a, b, and c          $282,287.75              Interest rate (if applicable)
 Address
 1374 CR 23, Walton, NY                                                                                                    9.0                  %

 Lien identification (such as                       e. Value of debtor(s)' interest in property   $203,520.00
 judgment date, date of lien
 recording, book and page number)
 1/21/2010; #135609
                                                    f. Subtract line e from line d.               $78,767.75

 Collateral owned                                     Extent of exemption impairment
 solely X                                             (Check applicable box)
 jointly                                            X    Line f is equal to or greater than line a.
 Date Collateral acquired                                The entire lien is avoided (Do not complete the next column)

                                                            Line f is less than line a.
                                                            A portion of the lien is avoided. (Complete the next column)

If more than one lien is to be avoided, insert additional table(s) to provide the information separately for each lien.

3.5 Surrender of collateral. Check one.
                  None.
                  Debtor surrenders his or her interest in the following collateral in satisfaction of the secured portion of the creditor’s allowed
                  claim. Debtor requests that upon confirmation of this plan the stay under 11 U.S.C. § § 362(a) and 1301(a) be terminated as to
                  the collateral. After the plan is confirmed, on request of a party in interest, the court shall promptly enter an order confirming
                  that the stay under 11 U.S.C. § § 362(a) and 1301(a) is terminated as to the collateral. Any allowed unsecured claim resulting
                  from the disposition of the collateral will be treated in Part 5 below.
(Local Form Plan 12-01-2017)                                                          4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
             Case 18-60094-6-dd                             Doc 2    Filed 01/25/18 Entered 01/25/18 14:00:25                      Desc Main
                                                                     Document      Page 5 of 7
 Name of Creditor                                                                      Collateral
 -NONE-

Insert additional claims as needed.


 Part 4:      Treatment of Fees and Priority Claims

4.1 General
         Trustee’s fees and all allowed priority claims under 11 U.S.C. § 507, including domestic support obligations other than those treated in
         Section 4.5, will be paid in full based upon a timely filed proof of claim.

4.2 Trustee’s fees
         Trustee’s fees are governed by statute and may change during the course of the case but will be no more than 10% of plan payments

4.3 Attorney’s fees for services rendered in connection with this bankruptcy case.
         Debtor’s attorney shall be paid $4,325.00, of which $1,000.00 was paid pre-petition and $3,325.00 shall be paid as an allowed
         administrative claim as part of the plan.

4.4 Priority claims other than attorney’s fees and those treated in Section 4.5. Check one.

                     None.
                     The creditors listed below hold priority claims other than attorney’s fees and those treated in Section 4.5
              Name of Creditor                               Amount of claim to be paid                 Basis for priority treatment
              -NONE-

        Insert additional claims as needed.
4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount. Check one.

                          None.
                          The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
                          governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision
                          requires that payments in Section 2.1 be for a term of 60 months. See 11 U.S.C. § 1322(a)(4).

              Name of Creditor                                                              Amount of claim to be paid
              -NONE-

             Insert additional claims as needed.

 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. The minimum amount to be paid
     to allowed nonpriority unsecured creditors under the plan shall be the greater of:
             Liquidation                                  $0.00
             Disposable Income (Line 45 x 60 months) $0.00
             Percentage Repayment:                        100%

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None.
                          The Debtor will maintain the current contractual installment payments on the unsecured claims listed below on which the last
                          payment is due after the final plan payment. These payments will be disbursed either by the Trustee or directly by the Debtor, as
                          specified below. Any existing arrearage amount will be paid in full through disbursements by the Trustee.

 Name of Creditor                                                           Current monthly installment payment       Amount of arrearage
 -NONE-
                                                                            Disbursed by:
                                                                            Trustee
                                                                            Debtor

Insert additional claims as needed.

5.3 Other separately classified nonpriority unsecured claims. Check one.
(Local Form Plan 12-01-2017)                                                 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
             Case 18-60094-6-dd                             Doc 2    Filed 01/25/18 Entered 01/25/18 14:00:25                      Desc Main
                                                                     Document      Page 6 of 7
                          None.
                          The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows.:

 Name of Creditor                                 Basis for separate classification and treatment         Amount of claim              Percentage of claim
                                                                                                                                                to be paid
 -NONE-

Insert additional claims as needed.


 Part 6:      Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
    unexpired leases are rejected. Check one.
                  None.
         The remainder of this paragraph will be effective only if box 1.4 in Part 1 of this plan is checked “Included.”
                  Assumed items. Current installment payments will be disbursed either by the Trustee or directly by the Debtor, as specified
                  below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the Trustee.

 Name of creditor              Description of leased property or executory contract                 Current installment      Amount of arrearage
                                                                                                    payment
 -NONE-
                                                                                                    Disbursed by:
                                                                                                    Trustee
                                                                                                    Debtor(s)

Insert additional claims as needed.

 Part 7:      Vesting of Property of the Estate

7.1 Property of the estate will vest in the Debtor upon completion of the plan.

 Part 8:      Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions
                None.

Trustee shall hold $800 from each monthly payment for the benefit of Seterus concerning its mortgage lien secured by Debtor's homestead until
further order of this Court. Debtor shall attempt to cure mortgage arrears owed to Seterus via the Bankruptcy Court's Loss Mitigation Program.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Local Form Plan or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

The following plan provisions will be effective only if box 1.3 in Part 1 of this plan is checked “Included.”




 Part 9:      Signature(s):

9.1 Signatures of Debtor and Debtor's Attorney
         The debtor and attorney for the Debtor, if any, must sign below.

       /s/ William J Picinich
       William J Picinich                                                                   Signature of Debtor 2
       Signature of Debtor 1

       Executed on          January 23, 2018                                                Executed on

     /s/ Justin Myers                                                                Date     January 23, 2018
     Justin Myers 514959 NY
 Signature of Attorney for Debtor(s)



(Local Form Plan 12-01-2017)                                                     6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
             Case 18-60094-6-dd                             Doc 2    Filed 01/25/18 Entered 01/25/18 14:00:25          Desc Main
                                                                     Document      Page 7 of 7
By filing this document, the Debtor, if not represented by an attorney, or the attorney for Debtor certifies that the wording and order of the
provisions in this Chapter 13 plan are identical to those contained in the Local Form Plan, other than any nonstandard provisions included
in Part 8.




(Local Form Plan 12-01-2017)                                                 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                     Best Case Bankruptcy
